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 EX. NO.      DATE       DESCRIPTION                                          BEG BATES             END BATES             PARTY EX. NO.
 JTX-001    6/19/2009    Document entitled, "HITS AXIS: Asynchronous          COM_00090848          COM_00090855             DTX-001
                         Message Relay Server Interface (AMI)
                         Specification."
 JTX-002    2/25/2010    Email from J. Mora to S. Cilione re Social Remote    COM_00092062          COM_00092066             DTX-003
                         UI on an iPhone/Laptop - messaging an EBIF
                         listener app
 JTX-003     5/7/2010    Filename: socialRemote.xml                           COM_00090717          COM_00090717             DTX-004
 JTX-004     5/7/2010    Filename: my-alerts.xml                              COM_00090729          COM_00090729             DTX-005
 JTX-005     5/7/2010    Filename: vod-viewer.xml                             COM_00090730          COM_00090730             DTX-006
 JTX-006     5/7/2010    Filename:alert.xsd                                   COM_00090722          COM_00090722             DTX-007
 JTX-007     5/7/2010    Filename: registerSettop.xsd                         COM_00090718          COM_00090718             DTX-008
 JTX-008     5/7/2010    Document entitled, "UDP Messaging Services,          COM_00090857          COM_00090863             DTX-009
                         Version 1.0, Interface Specification."
 JTX-009    5/10/2010    U.S. Patent Provisional Application No.              COM_00010711          COM_00010774             DTX-010
                         61/333,066 entitled, “Intelligent Remote Control,”
                         to McMahon et al. (May 10, 2010)
 JTX-010    5/12/2010    Youtube, "Xfinity Remote powered by Comcast."        COM_00008410          COM_00008415             DTX-012
                                                                              COM_00011012          COM_00011012
 JTX-011    5/17/2010    Presentation entitled, "Remote Tune Preliminary      COM_00003890          COM_00003909             DTX-013
                         Assessment -- Xplat: NE&TO Product
                         Engineering."
 JTX-012    5/27/2010    Document entitled, "Xfinity Remote - Attu."          COM_00004110          COM_00004127             DTX-014
 JTX-013    7/29/2010    Document entitled, "Crossplatform: Xfinity TV        COM_00000905          COM_00000977             DTX-015
                         Remote application for iPad Sign In, Set Up &
                         Messaging Documentation."
 JTX-014     9/8/2010    Document entitled, "PE QA Test Report."           COM_00003703             COM_00003711             DTX-016
                                                                           COM_00003712             COM_00003732
                         Atts: Presentation entitiled, "Aloha BW Model E2E COM_00003733             COM_00003733
                         Performancec Testing E2E Load Testing";           COM_00003734             COM_00003764
                         Microsoft_Office_Excel_Worksheet1.xlsx; Remote COM_00003765                COM_00003765
                         Tune 1.0 System Architecture Description;
                         Microsoft_Office_Excel_Worksheet3.xlsx

 JTX-015    10/26/2010   Presentation entitled, "Xfinity TV 1.0 Training -    COM_00003628          COM_00003656             DTX-018
                         Training for EVT Desk - October 26-28, 2010."
 JTX-016    11/4/2010    Presentation entitled, "XFINITY TV Application -     COM_00005535          COM_00005575            DTX-019 /
                         XNOC Readiness Plan (XNOC-RP)."                                                                    PTX-017
 JTX-017    11/22/2010   Filename: IPAD_Barker_FINAL.mov                      COM_00000593          COM_00000593            DTX-022 /
                                                                                                                            PTX-066
 JTX-018    8/19/2011    Calendar invitation to H. Mitschele from G. Beyda, COM_00091288            COM_00091288            DTX-026
                         re: ShoDogg Meeting (Touchstream Technologies)

 JTX-019                 Filenames: tv_remote_usage_days.xlsx;                COM_00105402          COM_00105402             DTX-027
                         Microsoft_Excel_Worksheet4.xlsx;                     COM_00105409          COM_00105409
                         Microsoft_Excel_Worksheet3.xlsx;                     COM_00105410          COM_00105410
                         Microsoft_Excel_Worksheet2.xlsx;                     COM_00105411          COM_00105411
                         Microsoft_Excel_Worksheet1.xlsx;                     COM_00105412          COM_00105412
                         Microsoft_Excel_Worksheet.xlsx                       COM_00105413          COM_00105413
 JTX-020     9/1/2011    Filename: Meetings.xlsx                              TS_COMCAST_00086487   TS_COMCAST_00086487     DTX-028
 JTX-021    12/20/2011   Email from S. Schwartz to B. Witowski and M.         COM_00095975          COM_00095976            DTX-030 /
                         DelCiello, re: Can you send me any background                                                      PTX-025
                         on Shodogg?
 JTX-022     3/8/2012    Email from T. Werner to P. Lingle, re: Shodogg       COM_00101606          COM_00101606             DTX-033
 JTX-023     4/5/2012    Presentation entitled, "Video's Best Friend."        TS_COMCAST_00092857   TS_COMCAST_00092875      DTX-036
                         Filename: Presentation 2-21.pdf
 JTX-024    4/17/2012    Email from T. Werner to S. Schwartz and M.           COM_00095802          COM_00095802            DTX-037 /
                         DelCiello, re: Update on Shodogg discussions                                                       PTX-023
 JTX-025     5/6/2013    Presentation entitled, "Xcalibur Overview."          COM_00035607          COM_00035607            DTX-046
 JTX-026     4/7/2014    Presentation entitled, "X1 Platform Overview."       COM_00034761          COM_00034793            DTX-053
 JTX-027    4/23/2017    Email from L. Yaccarino to H. Mitschele, re:         TS_COMCAST_00014025   TS_COMCAST_00014026     DTX-063
                         Shodogg Update - Important
 JTX-028    11/28/2019   Consulting Agreement Between Touchstream             TS_COMCAST_00047005   TS_COMCAST_00047011      DTX-067
                         Technologies, Inc. and Mitschele Consulting, LLC

 JTX-029     1/6/2020    Settlement Agreement between Touchstream             TS_COMCAST_00033484   TS_COMCAST_00033491      DTX-068
                         Technologies, Inc. and Vizbee, Inc.
 JTX-030    5/26/2023    Filename: Login_&_Setup.html                         COM_00014575          COM_00014575             DTX-070

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 EX. NO.      DATE      DESCRIPTION                                   BEG BATES                  END BATES             PARTY EX. NO.
 JTX-031    5/26/2023   Filename: XRE_Protocol_Specification.html     COM_00014419               COM_00014464            DTX-072 /
                                                                                                                          PTX-045
 JTX-032     5/3/2024   Filename: MVI_5936.MOV                             COM_00105432          COM_00105432             DTX-084
 JTX-033     5/3/2024   Filename: MVI_5925.MOV                             COM_00105433          COM_00105433             DTX-085
 JTX-034    4/22/2004   U.S. Patent Application Publication No.            COM_00083704          COM_00083722             DTX-092
                        2004/0078812 entitled, "Method and Apparatus for
                        Acquiring Media Services Available from Content
                        Aggregrators," to Calvert
 JTX-035    2/25/2014   U.S. Patent No. 8,660,545 entitled, "Responding COM_00008962             COM_00009031             DTX-093
                        to a Video Request by Displaying Information on a
                        TV Remote and Video on the TV," to Redford
 JTX-036    3/22/2016   U.S. Patent No. 9,294,800 entitled, "Intelligent   COM_00008673          COM_00008704             DTX-094
                        Remote Control," to McMahon et al. (Mar. 22,       COM_00036042          COM_00036064
                        2016) with Appendix A
 JTX-037    1/12/2013   U.S. Patent No. 8,356,251 entitled, "Play Control TS_COMCAST_00012275    TS_COMCAST_00012294     DTX-098 /
                        of Contest on a Display Device," to Strober                                                      PTX-036
 JTX-038    6/29/2021   U.S. Patent No. 11,048,751 entitled, "Play Control TS_COMCAST_00013067   TS_COMCAST_00013085     DTX-099 /
                        of Content on a Display Device," to Strober                                                      PTX-037

 JTX-039    8/10/2021   U.S. Patent No. 11,086,934 entitled, "Play Control TS_COMCAST_00013841   TS_COMCAST_00013860     DTX-100 /
                        of Content on a Display Device," to Strober                                                      PTX-038

 JTX-040                Quadriga Agreement                            TS_COMCAST_00015731        TS_COMCAST_00015771      PTX-001
 JTX-041                Quadriga MOU                                  TS_COMCAST_00016168        TS_COMCAST_00016176      PTX-006
 JTX-042                Architectural diagram                         COM_00014561               COM_00014562             PTX-039
 JTX-043                Training deck                                 COM_00035645               COM_00036000             PTX-040
 JTX-044                Remote tune XTVAPI calls                      COM_00014555               COM_00014555             PTX-041
 JTX-045                TV Remote Endpoint Spec                       COM_00014542               COM_00014545             PTX-042
 JTX-046                Linchpin Documentation                        COM_00016719               COM_00016724             PTX-043
 JTX-047                Linchpin interface                            COM_00016767               COM_00016773             PTX-044
 JTX-048                Comcast Source Code                           COM-SC_00000672            COM-SC_00000687          PTX-047
 JTX-049                Device provisioning diagram                   COM_00013792               COM_00013792             PTX-048
 JTX-050                Xapi deck                                     COM_00034223               COM_00034230             PTX-049
 JTX-051                Comcast Source Code                           COM-SC_00000578            COM-SC_00000579          PTX-051
 JTX-052                XAPI service specification                    COM_00036087               COM_00036111             PTX-053
 JTX-053                XRE overview                                  COM_00034352               COM_00034379             PTX-054
 JTX-054                flow_process.docx                             TS_COMCAST_00010653        TS_COMCAST_00010654      PTX-067
 JTX-055                CheckComments.php                             TS_COMCAST_00007807        TS_COMCAST_00007807      PTX-068
 JTX-056                CommentChecker.js                             TS_COMCAST_00007809        TS_COMCAST_00007810      PTX-069
 JTX-057                ViewComment.php                               TS_COMCAST_00007846        TS_COMCAST_00007846      PTX-070
 JTX-058                SaveComment.php                               TS_COMCAST_00007832        TS_COMCAST_00007832      PTX-071
 JTX-059                player1.html                                  TS_COMCAST_00009057        TS_COMCAST_00009057      PTX-072
 JTX-060                video05.html                                  TS_COMCAST_00007844        TS_COMCAST_00007844      PTX-073
 JTX-061                maddie.php                                    TS_COMCAST_00007826        TS_COMCAST_00007827      PTX-074




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